           Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 1 of 12




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,              )
                                       )
      v.                               )       CRIMINAL CASE NO.
                                       )       1:21-CR-00346-BAH-1
GLEN MITCHELL SIMON                    )

                         SENTENCING MEMORANDUM

      COMES NOW the Defendant, GLEN MITCHELL SIMON, by and through

undersigned counsel and hereby files this sentencing memorandum in support of a

reasonable sentence. Mr. Simon asks that this Court impose a sentence of three

years’ probation, with the first six months served on home detention. Mr. Simon has

already agreed to pay $500 restitution, and he is amenable to a period of community

service.

                                   Background

      Mr. Simon is a 31-year-old father of three young children and a small business

owner. He owns and operates a tree removal and pruning service, Omega Tree

Service. He is originally from Maine, but has made his home in rural north Georgia.

      Mr. Simon was charged by means of criminal complaint with offenses related

his participation in the January 6, 2021 protests and entry to the United States

Capitol. (Doc. 1). Upon learning of the outstanding federal warrant, he voluntarily

submitted to arrest in the Northern District of Georgia on May 5, 2021. (Doc. 21).


                                           1
        Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 2 of 12




Thereafter, Mr. Simon was named in a criminal information charging him with four

misdemeanor counts. (Doc. 6).

      Following his arrest, Mr. Simon was released on conditions of supervision.

(Docs. 16, 21). For the 15 months since Mr. Simon’s arrest, he has not had any

issues while on supervision. He has complied with the Court’s bond conditions,

maintained his business, and supported and parented his children.

      Mr. Simon did not file any pretrial motions and indicated to the government

his interest in accepting responsibility for his conduct and resolving his case with a

plea. The parties entered into a plea agreement, and at a plea hearing on October 15,

2021, Mr. Simon pleaded guilty to Count Four of the information, a charge of

violating 40 U.S.C. § 5104(e)(2)(G) by parading, demonstrating, or picketing in a

Capitol building. (Docs. 32, 33).

      In January 2022, prior to sentencing, the government obtained additional

evidence of Mr. Simon’s conduct. Mr. Simon agreed to withdraw his plea and

entered into a different plea agreement with the government, in which he admitted

to a more serious misdemeanor charge in the information, a violation of 18 U.S.C.

§ 1752(a)(2): Disorderly and Disruptive Conduct in a Restricted Building or

Grounds. The Court held a second plea hearing on April 29, 2022, at which he

entered his plea. (Doc. 51).




                                          2
        Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 3 of 12




      The Presentence Report (“PSR”) calculates Mr. Simon’s total offense level as

11, based upon: (1) a base offense level of 10 under U.S.S.G. § 2A2.4(a)(2); (2) a

3-level enhancement under § 2A2.4(b)(1)(A); and (3) a 2-level adjustment for

acceptance of responsibility under § 3E1.1(a). (PSR at ¶ 27). The parties stipulated

to these guideline applications, and Mr. Simon does not dispute the offense level.

      Mr. Simon is assigned one criminal history point for a single misdemeanor

conviction stemming from conduct that occurred in 2011, nearly 10 years before the

instant offense—resulting in his placement in criminal history category I. (Id. at

¶¶ 29-30). An offense level of 11 and criminal history category I yields a guideline

sentencing range of 8 to 14 months, in Zone B of the sentencing table.

      Under the facts and circumstances presented in Mr. Simon’s case, a custodial

sentence is not necessary to satisfy the sentencing factors set forth in 18 U.S.C.

§ 3553(a). In light of Mr. Simon’s personal history and characteristics and the nature

of the offense, a sentence of three years’ probation with the first six months served

on home confinement is reasonable and appropriate, and would comport with

§ 3553(a)’s directive to impose a sentence that is “sufficient, but not greater than

necessary.”




                                          3
         Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 4 of 12




                      Argument And Citation To Authority

   I.      After Calculation Of The Applicable Guideline Range, The Court
           Must Consider The 18 U.S.C. § 3553(a) Factors To Arrive At A
           Reasonable Sentence
        The Sentencing Guidelines promulgated by the United States Sentencing

Commission provide an advisory, rather than a mandatory regime for determining

sentences. United States v. Crawford, 407 F.3d 1174, 1178 (11th Cir. 2005) (citing

United States v. Booker, 543 U.S. 220, 125 S. Ct. 738 (2005)). The Sentencing

Commission’s guideline ranges are only generalizations. United States v. Hunt, 459

F.3d 1180, 1184-85 (11th Cir. 2006). The Court should consult the Guidelines, but

the resulting range is merely one factor that a sentencing court must consider in

arriving at a reasonable sentence. Crawford, 407 F.3d at 1178-79.

In its consideration of the sentencing factors set forth in 18 U.S.C. § 3553(a), the

Court may determine that the guideline sentence:

        should not apply, perhaps because (as the Guidelines themselves
        foresee) the case at hand falls outside the “heartland” to which the
        Commission intends individual Guidelines to apply, perhaps because
        the Guidelines sentence itself fails properly to reflect § 3553(a)
        considerations, or perhaps because the case warrants a different
        sentence regardless.     Thus, the sentencing court subjects the
        defendant’s sentence to the thorough adversarial testing contemplated
        by federal sentencing procedure.

Rita v. United States, 551 U.S. 338, 351, 127 S. Ct. 2456, 2465 (2007) (internal

citations omitted). As the Supreme Court noted in Rita, guideline calculations

expressly exclude consideration of certain offender characteristics. Id. at 351, 127

                                         4
        Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 5 of 12




S. Ct. at 2465; see also Hunt, 459 F.3d at 1184 n.4. And, as the Supreme Court

articulated in Gall v. United States, 552 U.S. 38, 128 S. Ct. 586 (2007), extraordinary

circumstances are not required to justify an outside of the guideline sentence. Gall,

552 U.S. at 47, 128 S. Ct. at 595.

      Congress has mandated that the preliminary guidelines calculation be

considered along with the other sentencing factors enumerated in § 3553(a), a

procedural requirement unaffected by Booker and its progeny. See 18 U.S.C.

§ 3553(a); Hunt, 459 F.3d at 1184. After calculation of the custody range, it is within

the sentencing court’s discretion to sentence within that guideline, or to impose a

more severe or more lenient sentence than the applicable range, “provided the

resulting sentence is reasonable in light of the § 3553(a) factors.” United States v.

Shelton, 400 F.3d 1325, 1334 (11th Cir. 2005); see also Gall, 552 U.S. at 47, 128 S.

Ct. at 595.

      Congress has set forth the factors a sentencing court must consider in

determining a reasonable sentence, which include:

      (1) the nature and circumstances of the offense and the history and
      characteristics of the defendant; (2) the need to reflect the seriousness
      of the offense, to promote respect for the law, and to provide just
      punishment for the offense; (3) the need for deterrence; (4) the need to
      protect the public; (5) the need to provide the defendant with needed
      educational or vocational training or medical care; (6) the kinds of
      sentences available; (7) the Sentencing Guidelines range; (8) pertinent
      policy statements of the Sentencing Commission; (9) the need to avoid
      unwanted sentencing disparities; and (10) the need to provide
      restitution to victims.
                                          5
        Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 6 of 12




United States v. Talley, 431 F.3d 784, 786 (11th Cir. 2005) (summarizing 18 U.S.C.

§ 3553(a)).

      The ultimate command of § 3553(a), however, is to impose a sentence that is

“sufficient, but not greater than necessary, to comply with” the sentencing purposes

stated in the statute. Id. This parsimony provision requires district courts to impose

the minimum punishment needed to satisfy the purposes of sentencing—just

punishment, deterrence, protection of the public, and rehabilitation of the defendant.

Thus, although § 3553(a) requires the sentencing court to consider the applicable

guideline range, it is only one of several factors, and it is the parsimony provision

that serves as “the guidepost for sentencing decisions post-Booker.” United States

v. Ferguson, 456 F.3d 660, 667 (6th Cir. 2006).

      “It has been uniform and constant in the federal judicial tradition for the

sentencing judge to consider every convicted person as an individual and every case

as a unique study in the human failings that sometimes mitigate, sometimes magnify,

the crime and the punishment to ensue.” Koon v. United States, 518 U.S. 81, 113,

116 S. Ct. 2035, 2053 (1996). Underlying this tradition is the principle that “the

punishment should fit the offender and not merely the crime.” Williams v. New York,

337 U.S. 241, 247, 69 S. Ct. 1079, 1083 (1949).

      In Mr. Simon’s case, a custodial sentence, even within the suggested guideline

range, is unreasonable. Accordingly, he asks the Court to impose a sentence of three

                                          6
        Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 7 of 12




years’ probation. In light of 18 U.S.C. § 3553(a)’s primary directive that sentencing

courts impose a sentence “sufficient, but not greater than necessary” to satisfy the

sentencing factors set forth in § 3553(a)(2), the requested sentence is appropriate

based upon the nature and circumstances of the offense, and Mr. Simon’s personal

history and characteristics.

   A. The Circumstances of the Offense

       Mr. Simon traveled to Washington, D.C. alone. He has admitted to his

participation in the protest and entry to the Capitol and to the offense conduct—both

in executing the written plea agreement and statement of facts, and in his admissions

of conduct when questioned by the Court at the plea hearing. However, he did not

participate in a group or organization, nor did he play any organizing or leadership

role. To the extent that Mr. Simon spoke with or looked at other participants during

the Capitol entry, that was merely because they were in the same location,

participating in the same activity–not because he was in cahoots with anyone or

directing anyone else’s conduct.

       Regarding the incident where Mr. Simon joined others in pushing a bicycle

rack into a line of officers, the video of the incident shows the sequence of events as

follows: Others were involved in that conduct, which Mr. Simon played no role in

initiating.   Mr. Simon approached, placed his hands on the bicycle rack for

approximately 20 seconds, and then removed his hands and left the immediate area.

                                          7
        Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 8 of 12




      Regarding the incident in the Rotunda, Mr. Simon has admitted to resisting

the officers’ efforts to clear the Rotunda because he did not leave when instructed

and attempted to maintain his position despite the officers’ efforts. However, he did

not make any physical contact with officers. The government describes that Mr.

Simon appears to have his fists raised in a still shot taken from the surveillance video.

However, in the video, it is apparent that the Rotunda had become a scrum or “mosh

pit,” with people (participants and officers) pushing each other from every direction.

Mr. Simon was being buffeted by bodies surging into him from both sides. At one

point, Mr. Simon puts his hands up to use his forearms as a bumper to prevent

himself from being pushed into other people—he is raising his hands defensively,

not offensively. At another point, Mr. Simon appears to grab the shirt of the

participant in front of him and pull that man back, away from the officers. Mr. Simon

does not dispute that as officers attempted to herd participants out of the room, he

actively resisted these efforts by trying to remain in place—but he did not strike or

push, or attempt to strike or push, any officer. He found himself in a scrum, tried to

prevent himself from incurring injury, and within several minutes, left the Rotunda.

      To the extent that the government contends Mr. Simon’s vest was an

indication that he was prepared for violence, it is noteworthy that he did not carry

any weapon. (See Doc. 59 at 8). There is no evidence that he sought out any specific

member of Congress or intended to do so. Nor did he encourage specific acts of

                                           8
        Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 9 of 12




violence. Caught up in the events that day, he repeated the angry rhetoric that was

used by many participants, and used by organizers and speakers at the protest events

that precipitated the breaching of the Capitol. However, his actions went no further

than the conduct he has admitted to. Mr. Simon has admitted to his boastful,

insulting, and inflammatory statements.

      B.     Mr. Simon’s Personal History and Characteristics

      Mr. Simon’s personal history and characteristics support that a non-custodial

sentence of three years’ probation with a term of home confinement is reasonable

and “sufficient, but not greater than necessary” to satisfy the § 3553(a) factors. Mr.

Simon is a small business owner, and he financially supports his three children. His

tree removal and pruning service employs others in his rural community.

Incarceration—particularly for the lengthy term suggested by the government—

would result in Mr. Simon’s business being shut down. This would destabilize his

family and negatively impact the employees who depend on him to support their

own families. Although this does not excuse Mr. Simon’s conduct, it does constitute

a mitigating factor that weighs in favor of a non-custodial sentence.

      Further, Mr. Simon has been compliant with the Court’s bond conditions and

cooperated with pretrial supervision without incident for more than 15 months. This

lengthy period of compliance and lawful conduct demonstrates that a custodial




                                          9
       Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 10 of 12




sentence is not necessary to promote respect for the law or specific deterrence. There

is no need to incarcerate Mr. Simon to protect the public.

      Finally, Mr. Simon is properly assigned to criminal history category I in

recognition of his minimal criminal history. He has only one prior conviction, for a

misdemeanor offense that occurred more than 10 years ago. (PSR at ¶ 29).

      C.     The Requested Sentence is Reasonable

      The § 3553(a) factors support that a non-custodial sentence is appropriate in

this case. As noted above, Mr. Simon has demonstrated that he is capable of living

within the bounds of the law by his conduct while on pretrial supervision. He is

remorseful for his conduct and appreciates the gravity of the offense, such that a

custodial sentence is not necessary to deter him from future crime. Additionally, he

has committed to paying restitution and is amenable to a term of community service.

      Notably, the suggested guideline range of 8 to 14 months is in Zone B of the

guideline table. The guidelines contemplate a non-custodial sentence: § 5C1.1(c)

provides that a Zone B guideline range may be satisfied by a sentence of probation

that substitutes a term of home detention in place of imprisonment. U.S.S.G.

§ 5C1.1(c)(3); see also U.S.S.G. § 5F1.2 (identifying home detention as a substitute

for imprisonment). The Court is not obligated to impose any custodial term, or a

term of home detention, and may impose a probation-only sentence.




                                         10
       Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 11 of 12




                                    Conclusion

      WHEREFORE, for all of the reasons set forth herein, Mr. Simon requests a

reasonable sentence of three years of probation, with the first six months served on

home confinement.

      Respectfully Submitted, this 5th day of August 2022.

                                       /s/ Rebecca Shepard
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                                         11
       Case 1:21-cr-00346-BAH Document 63 Filed 08/05/22 Page 12 of 12




                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Sentencing Memorandum has been

formatted in Times New Roman 14 pt., in accordance with Local Rule 5.1B, and

was electronically filed this day with the Clerk of Court using the CM/ECF system

which will automatically send email notification of such filing to the following

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      Dated: This 5th day of August, 2022.


                                       /s/ Rebecca Shepard
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                                         12
